      CASE 0:18-cv-01776-JRT-HB Document 465 Filed 01/16/20 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


IN RE PORK ANTITRUST LITIGATION                         No. 0:18-cv-1776-JRT-HB

This Document Relates To: All Actions                   DEFENDANT AGRI STATS, INC.’S
                                                        NOTICE OF WITHDRAWAL OF
                                                        APPEARANCE




                      NOTICE OF WITHDRAWAL OF APPEARANCE
       PLEASE TAKE NOTICE pursuant to Rule 83.7(a) of the Local Rules of the United

States District for the District of Minnesota, that Jennifer A. Fleury has withdrawn as counsel

for Defendant Agri Stats, Inc. in this case. All other counsel of record for Agri Stats, Inc. shall

remain the same.


Dated: January 16, 2020                             Respectfully submitted,

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CASE 0:18-cv-01776-JRT-HB Document 465 Filed 01/16/20 Page 2 of 2



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